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 9
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12
13   ANDY STONE, an individual, and          Case No. 2:23-cv-09216-PA-PD
     TROY POWERS, an individual,
14                                           STIPULATION TO EXTEND TIME
15               Plaintiffs,                 TO RESPOND TO INITIAL
                                             COMPLAINT
16         v.
17                                           Complaint filed: Nov. 1, 2023
     MARIAH CAREY, an individual;
18   WALTER AFANASIEFF, an                   Current response deadline: Nov. 24, 2023
19   individual; SONY/ATV TUNES, LLC,
     a Delaware limited liability company;   New response deadline: Jan. 15, 2024
20   SONY MUSIC ENTERTAINMENT, a
21   New York General Partnership;
     KOBALT MUSIC PUBLISHING
22   AMERICA, INC., a Delaware
23   Corporation; UNIVERSAL MUSIC
     CORP., a Delaware Corporation;
24   WALLY WORLD MUSIC, LLC., a
25   California limited liability company;
     and DOES 1 through 10, inclusive,
26
27               Defendants.

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 1                                       STIPULATION
 2         Plaintiffs Andy Stone and Troy Powers (“Plaintiffs”) and Defendant Sony Music
 3   Publishing (US), LLC, erroneously sued as Sony/ATV Tunes, LLC (“SMP,” and
 4   together with Plaintiffs, the “Parties”) hereby stipulate and agree as follows:
 5         1.     WHEREAS, on November 1, 2023, Plaintiffs filed the Complaint in this
 6   action.
 7         2.     WHEREAS, the Complaint was served on SMP on November 3, 2023.
 8         3.     WHEREAS, SMP’s current deadline to respond to the Complaint is
 9   November 24, 2023.
10         4.     WHEREAS, in light of the upcoming holidays and counsels’ travel
11   schedules, the Parties have agreed to extend SMP’s response deadline up to and
12   including January 15, 2024.
13         5.     WHEREAS, this is SMP’s first request for an extension to respond to the
14   Complaint.
15         NOW, THEREFOR, IT IS STIPULATED AND AGREED BY AND
16   BETWEEN THE PARTIES, through their counsel of record, that SMP may have up
17   to and including January 15, 2024 to answer, move or otherwise respond to the
18   Complaint in this action.
19
20                                    GERARD FOX LAW P.C.
21   Dated: November 21, 2023         By:   /s/ Cirstan S. Fitch
22                                    Gerard Fox
                                      Cirstan Fitch
23                                    Attorneys for Plaintiffs
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                                      PRYOR CASHMAN LLP
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     Dated: November 21, 2023         By:       /s/ Benjamin S. Akley
26
                                      Benjamin S. Akley
27                                    Shamar Toms-Anthony
28                                    Attorneys for Defendant
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 1                      ATTESTATION REGARDING SIGNATURES
 2         The undersigned attests that all signatories listed, and on whose behalf this filing
 3   is submitted, concur in this filing’s content and have authorized its filing.
 4
 5    Dated: November 21, 2023        By:    /s/ Benjamin S. Akley
 6                                           Benjamin S. Akley
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